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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 ELECTRONIC PRIVACY INFORMATION CENTER et
 al.,

        Plaintiffs,
                                                                 Civ. Action No. 19-810 (RBW)
        v.

 UNITED STATES DEPARTMENT OF JUSTICE,

        Defendant.



                                      STATUS REPORT

       Plaintiff Electronic Privacy Information Center (“EPIC”) respectfully submits this status

report to propose a schedule for the consolidated Freedom of Information Act (“FOIA”) cases.

       EPIC reports to the Court as follows:

       1.      On March 22, 2019 the Special Counsel delivered to the Attorney General of the

United States the Special Counsel’s “Report On The Investigation Into Russian Interference In

The 2016 Presidential Election” (hereinafter “the Special Counsel’s Report”).

       2.      On March 22, 2019, EPIC filed a Complaint for the release of the Special

Counsel’s Report and related records. ECF No. 1.

       3.      On March 29, 2019, EPIC filed a motion for a Preliminary Injunction, seeking the

expedited release of the Special Counsel’s Report. ECF No. 7.

       4.      On April 4, 2019, Buzzfeed filed a Complaint and Motion for a Preliminary

Injunction, seeking the expedited release of the Special Counsel’s Report. Dkt. No. 19-957.

       5.      On April 9, 2019, this Court held a hearing on EPIC’s Motion for a Preliminary

Injunction. The Court denied EPIC’s Motion without prejudice and ordered “the government
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shall file its answer to the plaintiff’s Complaint on or before April 25, 2019” and further ordered

that “the parties shall appear before the Court on May 2, 2019, at 10:00 a.m. to discuss how the

parties wish to proceed in this case.” ECF No. 24.

       6.      On April 16, 2019, the Court held a hearing on Buzzfeed’s Motion for a

Preliminary Injunction. The Court denied Buzzfeed’s Motion without prejudice and ordered the

government to file its answer on or before April 25, 2019. The Court further ordered the parties

to appear at the May 2, 2019 hearing.

       7.      On April 18, 2019, the DOJ released a redacted version of the Special Counsel’s

Report (hereinafter “the Redacted Special Counsel’s Report”). EPIC Response to Order to Show

Cause Ex. 1, ECF Nos. 26-1, 26-2. The Redacted Special Counsel’s Report contains redactions

on more than 170 pages, including multiple pages withheld in their entirety. Id.

       8.      On April 22, 2019, the Court ordered that “to the extent that the plaintiffs in the

above-captioned matters are seeking the release of the Special Counsel Mueller’s report

regarding the investigation into Russian interference in the 2016 United States presidential

election, Case No. 19-cv-810 is CONSOLIDATED with Case No. 19-cv-957.” The Court further

ordered that the parties shall make all future filings only in Case No. 19-cv-810.

       9.      The Attorney General is scheduled to testify regarding the contents of the Special

Counsel’s Report before the Senate on May 1, 2019, and before the House of Representatives on

May 2, 2019

       10.     The Parties have conferred regarding the schedule and agree that the most

efficient way to proceed is to set an expedited schedule for summary judgment1 motions.




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  Because EPIC’s FOIA request also concerns records other than the Special Counsel’s Report,
the proposed cross motions would be for partial summary judgment in EPIC’s case.
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       11.      The DOJ has represented that the Office of Information Policy will produce a

version of the Special Counsel’s Report to EPIC and to Buzzfeed as early as Thursday, May 2,

but no later than Monday May 6.

       12.      EPIC hereby requests that the Court enter an Order adopting the following

briefing schedule for expedited cross motions for summary judgment:

       •     DOJ Motion for Summary Judgment                 May 24, 20192

       •     EPIC Opposition and Cross Motion                June 14, 2019
             for Summary Judgment

       •     DOJ’s Combined Reply                            June 21, 2019
             and Opposition to the Cross Motions

       •     EPIC’s Reply                                    June 28, 2019

       •     Hearing on Cross Motions                        July 8, 2019

       13.      EPIC also requests that the Court order the DOJ to make the original, unredacted

version of the Special Counsel’s Report available for in camera inspection with the filing of the

agency’s Motion for Summary Judgment on May 24, 2019.

       14.      EPIC and the DOJ have also conferred regarding a schedule for the processing of

the remainder of EPIC’s FOIA Request.

       15.      EPIC has agreed to narrow the scope of its request in two ways. First, EPIC will

strike the term “drafts” from all seven categories in its FOIA request. Second, EPIC will clarify

that in Category 7(a) EPIC is seeking only “All other formal written reports, excluding e-mails,

informal communications, and logistical memoranda, summarizing or describing…”

       16.      EPIC also proposes that the most expeditious way to process EPIC’s FOIA

Request for the remaining records is to first prioritize the processing and release all non-exempt


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 These dates assume that OIP will produce a version of the Special Counsel’s Report on May 2,
2019.
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records responsive to Category 5.

        17.      EPIC proposes that the DOJ complete production of records responsive to

Category 5 within 30 days, and that the parties then confer regarding the processing of the

remaining categories and file a status report with the Court establishing a production schedule.

EPIC proposes the following schedule for processing:

        •     DOJ completes processing and production         June 3, 2019
              of all non-exempt records responsive to
              Category 5 of EPIC’s FOIA Request

        •     EPIC and DOJ meet and confer re:
              processing and scope of remaining categories
              of EPIC’s FOIA Request

        •     Joint Status Report establishing schedule       June 17, 2019
              for production of additional records
              responsive to EPIC’s FOIA Request

        18.      The DOJ has stated that it “opposes the positions outlined in the status report and

will file its own status report prior to the hearing.”



        Dated: April 30, 2019




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Respectfully Submitted,


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 and Executive Director

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